 

 

Case 3:20-cr-00007-KRG Document 896 Filed 02/04/21 Page 1 of 1

JN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA }
V. )
ROBERT MORGRET, JR. ) CRIMINAL NO, 20-7 JOHNSTOWN

FEDERAL RULE OF CRIMINAL PROCEDURE 32 fe} WARIVER
(, ROBERT MORGRET, JR., after having been fully apprised advised of my rights pursuant
to Federal Rule of Criminal Procedure 32 (e), the text of which is set forth below, consent to the

 

submittal and disclosure of a limited presentence investigation report by the United States
Probation Office. This report shalt be for the limited purpose of obtaining a criminal history
calculation under the provisions of the United States Sentencing Guidelines.

J consent to the review of my presentence investigation report by a judge at any time,
including the time prior to entry of a plea of guilty or nolo contendere. | further acknowledge
the report will be made available for review to the parties in this case, Induding the
prosecution.

Federat Rule of Criminal Procedure 32 (e){1) provides that: “(u]nless the defendant has
consented in writing, the probation office must not submit a presentence report to the court or

disclose its contents to anyone until the defendant has pleaded guilty or nolo contendere or has

been found guilty.

fle NG om l-26-2Q |

ROBERT MORGRET, JR.

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NEIL ROTHSCHILD, ATTORNEY FOR DEFENDANT

 

 
